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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

DAMIEN GUEDES, et al.                               :
                                                    :
                              Plaintiffs            :
               v.                                   :       Civil Action No. 1:18-cv-2988
                                                    :
BUREAU OF ALCOHOL, TOBACCO,                         :
FIREARMS AND EXPLOSIVES, et al.                     :
                                                    :
                              Defendants            :

Certificate required by LCvR 26.1 of the Local Rules of the United States District Court for the
District of Columbia:

I, the undersigned, counsel of record for Firearms Policy Coalition, Inc., Firearms Policy
Foundation, and Madison Society Foundation, Inc., certify that to the best of my knowledge and
belief, the following are parent companies, subsidiaries, affiliates, or companies which own at
least 10% of the stock of Firearms Policy Coalition, Inc., Firearms Policy Foundation, and
Madison Society Foundation, Inc. which have any outstanding securities in the hands of the
public.

No such parent companies, subsidiaries, affiliates or other company own at least 10% of the
stock in either corporation.

These representations are made in order that judges of this Court may determine the need for
recusal.

                                                Respectfully Submitted,



                                                ________________________
                                                Adam Kraut, Esq.
                                                D.C. Bar No. PA0080

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